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                        UNITED STATES DISTRICT COURT
                          DISTRICT OF CONNECTICUT


DENIS MARC AUDET, MICHAEL                  Case 3:16-cv-00940
PFEIFFER, and DEAN ALLEN SHINNERS,
Individually and on Behalf of All Others   Hon. Michael P. Shea
Similarly Situated,                        Courtroom 2

                          Plaintiffs,      ECF Case

      vs.                                  CLASS ACTION

STUART A. FRASER, GAW MINERS, LLC,         May 3, 2019
and ZENMINER, LLC, (d/b/a ZEN CLOUD),
                                           PLAINTIFFS’ SUPPLEMENTAL BRIEF
                          Defendants.      RE: CLASS MEMBER IDENTIFICATION
                                           AND DAMAGES
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Cases

Briseno v. ConAgra Foods, Inc.,
        844 F.3d 1121, 1132 (9th Cir. 2017) ................................................................................. 1

In re Petrobras Sec.,
        862 F.3d 250 (2nd Cir. 2017)......................................................................................... 1, 2

Levinson v. Westport Nat’l Bank,
       2011 WL 13237887 (D. Conn. May 10, 2011) .................................................................. 5

Mazzei v. Money Store,
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                                      Table of Evidence

Exhibit                                     Description
1.      Excerpts from transcript of hearing on class certification

2.        Joint Declaration

3.        Declaration of Allen Shinners

4.        Examples of receipts from gawminers.com provided by putative class members

5.        Excerpts of Braintree and Stripe credit card data

6.        Comparison of claimant Christian Bills’ credit card statement with Braintree and
          Stripe table showing transactions of the 20 randomly selected putative class
          members

7.        Examples of credit card and other financial statements provided by putative class
          members

8.        Examples of bitcoin addresses and transfer confirmations provided by putative class
          members

9.        Example of blockchain explorer information for bitcoin wallet of putative class
          member Belinda Burrows

10.       Declaration in SEC v. Garza, No. 3:15-cv-1760 (D. Conn.)

11.       Declaration of Colin M. Watterson




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                                                    Introduction

         During the hearing on class certification, the Court ordered the parties to produce a sample

of documents collected by plaintiff Allen Shinners from 20 randomly selected putative class

members and to provide supplemental briefing about the use of those documents to establish class

membership and damages. Ex. 1 at 101:21-102:22; Dkt. 136. Those documents illustrate at least

three ways for class members to establish class membership and calculate damages using common

categories of documentary proof: (1) email receipts for purchases of the securities at issue; (2)

tables listing credit card transactions with GAW, including name and address information; and (3)

blockchain addresses for bitcoin wallets created by GAW for customers to use when purchasing

GAW securities with cryptocurrency. Each category of records can be used separately and together

to establish class membership through purchases of GAW securities during the class period. The

same records also provide a reliable means to calculate the individual damages sustained by each

class member. 1

                                                      Argument

    1. The Evidence Submitted Confirms Proof of Purchase Is a Common Issue.

         The predominance element of Rule 23(b)(3) requires the Court to consider whether the

case presents individual questions that “are more substantial than the issues subject only to

individualized proof.’” In re Petrobras Sec., 862 F.3d 250, 272 (2nd Cir. 2017) (quoting Mazzei

v. Money Store, 829 F.3d 260, 272 (2d Cir 2016)). At the hearing, the Court asked the parties to


1
  Of course, it is black-letter law that the need to make individualized damages calculations does not defeat certification
of a class action. As noted at the hearing, the facts regarding a class member’s purchase of a security are generally
established by a claim form submitted by the class member post-trial. Class member affidavits are sufficient to
establish class membership. See, e.g., Mullins v. Direct Dig, LLC, 795 F. 3d 654, 669 (7th Cir. 2015) (“We are aware
of only one type of case [treason] in American law where the testimony of one witness is legally insufficient to prove
a fact.”); Briseno v. ConAgra Foods, Inc., 844 F.3d 1121, 1132 (9th Cir. 2017) (“Given that a consumer’s affidavit
could force a liability determination at trial without offending the Due Process Clause, we see no reason to refuse class
certification simply because that same consumer will present her affidavit in a claims administration process after a
liability determination has already been made.”).
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submit a random sample of the purchase evidence some class members had submitted, in light of

testimony suggesting the ZenCloud database may have been corrupted and an understanding that

some cryptocurrency transactions may be executed anonymously.

         Unlike Petrobras, where membership turned on a multi-factor analysis for determining

whether a securities transaction qualifies as “domestic,” the only issue here is a straightforward

question with a black-and-white answer: did the putative class member purchase specified GAW

securities during the class period? 2 This question does not present complex legal or factual issues

and it can be answered, as it has been in countless previous securities and other class actions, with

claim forms supported, if deemed necessary, by purchase receipts or other documents evidencing

a qualifying purchase.

         To address the Court’s concerns about the specific evidence available in this case, the

parties together randomly selected 20 of the 173 putative class members who had submitted

records to plaintiff Allen Shinners before this class action was filed. These records included

emailed receipts from GAW, credit card statements, bitcoin transfer records, and spreadsheets

summarizing GAW transactions. X-2 at ¶6. The records the claimants submitted to Shinners

demonstrate that class membership and damages can be established through reliable, common

categories of evidence. Moreover, examination of these records and other data sources external to

ZenCloud appears to confirm the accuracy of the records in the ZenCloud database that are relevant

to these determinations. 3


2
  In Petrobras, the Second Circuit found that the question of whether someone engaged in a qualifying domestic
securities transaction would turn on highly individualized transaction-specific facts, including, but not limited to,
“facts concerning the formation of the contracts, the placement or purchase order, the passing of title, or the exchange
of money,” all to determine whether (1) the purchaser “incurred irrevocable liability within the United States to take
and pay for a security,” or “legal title to the security must have transferred in the United States.” 826 F.3d at 262 &
272. Even so, the Circuit noted that certification was still an open question on remand and emphasized the various
class action management tools available to the trial court. Id. at 274-275.
3
  Importantly, as he explains in his declaration, Shinners did not require claimants to provide all materials in their
possession related to GAW. X-3 at ¶7. As a result, it is likely that these claimants may have additional records in some
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    2. Records External to ZenCloud Establish Class Membership.

         Class members have several data sources available to demonstrate class membership. First,

as the Court indicated at the hearing, GAW investors received form email receipts to confirm

purchases of securities. 13 of the 20 putative class members provided copies of such emails to

Shinners when he was assembling evidence before plaintiffs filed this action. X-4. Each example

conforms to a uniform format and each includes the date of the transaction, the item purchased,

the purchaser’s name and email address, and the amount paid. These emails alone are evidence of

class membership and can also be used to calculate damages.

         Class members who cannot locate copies of these email receipts will have several

alternative means to establish membership in the class. GAW used third-party credit card

processors called “Braintree” and “Stripe” to process credit card sales of its securities. GAW

representatives provided data tables from both processors to the SEC and those tables have been

produced in this litigation. X-5. This data from independent companies is not subject to any of the

concerns expressed by Fraser about the ZenCloud database. A search for the name of a claimant

on this table can be used to confirm the date and amount of each credit card purchase. Review of

the credit card statements obtained from class members included among the documents collected

by Allen Shinners confirms the accuracy of the information on the Braintree and Stripe tables. X-

6. The 20 randomly selected putative class members provided their own credit card statements that

can be similarly used. X-7.

         GAW investors who did not use credit cards instead used bitcoin to make their purchases.

Like the credit card purchases, purchases made with bitcoin can be identified with common

categories of evidence. GAW provided every customer who used bitcoin to purchase GAW’s



of these categories.
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securities with a unique bitcoin wallet address. X-3 at ¶3. The customer would then transfer bitcoin

to that wallet to spend it on GAW securities. Id. These transfers of bitcoin to GAW can be reviewed

and confirmed on the bitcoin blockchain by searching for the individual wallet addresses. Class

members provided Shinners with their GAW bitcoin wallet address, and several identified

individual transfers of bitcoin that they made to GAW through these addresses. X-8. Any public

blockchain website (such as www.blockchain.com/explore) can be used to locate all bitcoin

transactions involving these addresses and confirm the date and amount of each transfer. E.g., X-

9. In addition, class members may submit records from a personal bitcoin exchange or wallet

service (equivalent to a bank for a credit card) showing transfers from such an account to the

individual’s GAW wallet, as several class members did when providing records to Shinners. X-8.

    3. Data Supporting Damage Claims Is Available and Reliable.

         Each of the three non-ZenCloud data sources available to verify class membership—email

receipts, credit card transaction data, and bitcoin blockchain records—can also be used as the basis

for a class member’s damages calculation. Each of these categories include dates and the amounts

of the purchases which establish the class member’s loss. 4 Even if individual inquiries might be

required to assess chargebacks, sales to third-parties, or other reductions in the individual damage

amounts, that fact cannot defeat class certification. It is well-established in this Circuit and

elsewhere that “the fact that damages may have to be ascertained on an individual basis is not

sufficient to defeat class certification.” Roach v. T.L. Cannon Corp., 778 F.3d 401, 405 (2nd Cir.

2015) (internal punctuation and citations omitted). As this Court has found, “varying damages are




4
  Calculation of damages for the plaintiffs’ claim under Connecticut securities laws is a purely mechanical task
involving objectively verifiable amounts, rending complex individual damages proceedings unnecessary. See CUSA
§ 36-b-29 (permitting the plaintiff “to recover the consideration paid for the security, together with interest at eight
percent per year from the date of payment, costs and reasonable attorneys fees, less the amount of any income received
on the security. . .”).
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not usually a legitimate basis to deny class certification because these issues may be dealt with

through a claims administration process after a determination of liability.” Levinson v. Westport

Nat’l Bank, 2011 WL 13237887, at *2 (D. Conn. May 10, 2011).

        Although the records discussed above provide a basis for calculating damages without

reference to ZenCloud, it is also a common question for the jury whether ZenCloud is a reliable

source of data for the calculation of damages. There are plenty of indicia that it is reliable,

including evidence in this motion: plaintiffs have cross-checked the accuracy of ZenCloud’s

records related to the 20 randomly-selected class members. In each case, the ZenCloud data

appears to be consistent with external data sources. For example, plaintiffs compared dozens of

the email receipts provided by the class members with data in ZenCloud and found that the data in

ZenCloud was consistent. X-11 at ¶¶11-13. Plaintiffs also compared transactions on the bitcoin

blockchain for each of the 20 putative class members and confirmed that hundreds of transactions

recorded in ZenCloud also appear on the blockchain. X-11 at ¶¶14-22. The Department of Justice

(DOJ) found the ZenCloud database sufficiently reliable to use it in its prosecution of GAW’s

Joshua Garza. See X-3 at ¶8. 5 And the SEC found it sufficiently reliable to use for damages

calculations. X-10. And in the very least, the ZenCloud database is sufficient when corroborated

by other evidence of purchase in the record.

                                                  Conclusion

        The random sampling of class members shows that there is a reliable, uniform means of

establishing class membership that applies across the class.




5
  It should be noted that the DOJ used data from approximately 130 investors who voluntarily provided that data to
the DOJ. That is not the total universe of investors. The SEC alleged that there were more than 10,000 investors who
were defrauded out of $19 million in purchasing Hashlets alone.
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DATED: May 3, 2019

                                         Respectfully submitted,

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